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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA
                                                            CONSENT PRELIMINARY ORDER
                 V,                                         OF FORFEITURE/

GULSAHIL SINGH,
                                                           MONEY JUDGMENT
                                                            19 Cr. 339 (RA)
                      Defendant
                                                      X


               WHEREAS, on or about May 7, 2019, GUHSAHIL SINGH (the "Defendaunt"),

umong others, was charged in a four-count Indietment, 19 Cr. 339 (RA) (the "Indietment"), with

narcotics importation eonspiracy, in vielation of Title 21, United States Code, Sestions 952(a),

960(), 960(bI3), 960(b}N6), and 963 und Title 18, United States Code, Section 3238 (Count One);

narcoties importation eonspiraey, in violation of Title 21, United States Code, Sections 959(a),

959(d), 960(a), 960(b)(3) und 963 and Title 18, United States Code, Section 3238(Count Two);

nareoties importation, in violation of Title 21, United States Code, Sections 952(a), 960(ax),

960(b(6) and 963 and Title 18, United States Code, Sections 2 and 3238 (Count Three); and

narcotics distribution for importation, in violation of Title 21, United States Code, Sections 959(a),
959(d), 960(a)3),960(b)(3) and 963 and Title 18, United States Code, Seetions 2 and 3238 (Count

Four)
                WHEREAS, the Indictment ineluded a forfeiture allegation as to Counts One

through Four, seeking forteiture to the United States, pursuant to Title 21, United States Code,

Section 853, of any and all property eonstituting or derived from any proceeds obtained, direetly

or indireetly, us u result of the offenses and any and all property used, or intended to be used, in

                                                commission of the offenses churged in Counts One
any manner or part to eommit and facilitate the

through Four of the Indietment, ineluding but      not limited to a sum of money     in United States
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eurreney representing the amount of prOceeds traseuble to the commission of the offenses charged

in Counts One through Pour of the Indietment;

               WHEREAS, on or about October 21, 2020, the Defendant intends to plead guilty

to Counts One and Three of the Indictment, pursuant to a plea agreement with the Government,

wherein the Defendant admitted the forfeiture allegation with respeet to Counts One and Three

and agreed to forfeit to the United States, pursuant to Title 21, United States Code, Seetions 853,
a sum of money equal to $130,000 in United States curreney representing the amount of proceeds

truceable to the commission of the offenses eharged in Counts One and Three of the Indietment;

and

                WHEREAS, the Defendant consents to the entty of a money judgment in the

amount of S130,000 in United States curreney representing the amount of proceeds truceable to

the offenses charged in Counts One through Four of the Indictment, for whieh the Defendant is

jointly and severully lisable with eo-Defendant Ajit Singh, to the extent a forfeiture money

judgement is entered against Ajit Singh
                WHEREAS, the Defendant admits that, as a result of uets and/or omissions of the

Defendunt, the proceeds iraeeable to the offenses charged in Counts One and Three of the

 Indietment that the Defendant personally obtained eannot be located upon the exereise of due

 diligenee,
                IT IS HEREBY STIPULATED AND AGREED, by and between the United States

 of Ameriea, by its attorney Audrey Strauss, Aceting United States Attorney, Assistant United States

 Attorney, Juliana Murray of counsel, and the Defendant, GULSAHIL SINGH, and his eounsel,

 Steven Brill, Esq, that:
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                  .         As       result     of the offenses eharged    in Counts One and Three of the

Indietment, to which the Defendant pled guilty, a money judgment in the amount of $130,000in

United States eurreney (the "Money Judgment"), representing the umount of proceeds truceable to


the offenses charged in Counts One and Three of the Indictment that the Defendant personaly
obtained, shall be entered against the Defendant, for whieh the Defendant is jointly and severally

liable with eo-Defendant Ajit Singh, to the extent a forfeiture money judgment is entered against

Ajit Singh.
                  2             Pursuant   to   Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure,

this Consent Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant,

GULSAHIL SINGH, and shall be deemed part of the sentenee of the Defendant, and shall be


included in the judgment of convietion therewith

                   3.           All payments on the outstanding Money Judgment shall be made by postal

                                eertified eheck, mude     payable, in this instanee,   to   United States Marshals
money order, bunk          or


Service, and delivered by mail             to the United States   Attorney's Offiee, Southern Distriet of New

 York, Attn; Money Laundering und                 Transnational Criminal   Enterprises Unit, One St.      Andrew's

                                                                    name and                             number.
 Plaza, New York, New York 10007 and shall indicate the Defendant's
                                                                                                  case


                      4.        The United States Marshals Service is authorized to deposit the payments

                                                                                          elear title
on   the   Money Judgment in the Assets Forfeiture Fund, and the United States shall have
 to sueh forfeited property,

                   5.           Pursuant to Title    21, United States Code, Seetion 853(p), the United States
                                                         the Defendant up to the uneollected
is authorized to seek forfeiture of substitute assets of
                                                                                                            amount


of the Money Judgment,
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                         Pursuant   to   Rule 32.2(bx3) of the Federul Rules of Criminal
                                                                                         Procedure, the
United States Attorney's Office     is   authorized   to   eonduet   any    diseovery needed   to   identify, locate
or dispose of forfeitable property, ineluding depositions,
                                                           interrogatories, requests for produetion
of documents and the issuance of
                                     subpoenas
                 7      The Court shall retain
                                               jurisdiction         to   enforee this Consent Preliminary Order
of   Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2
                                                                                                    of the Federal
Rules of Criminal Procedure.

                 8.     The Clerk of the Court shall forward three certified                     of this
                                                                                        copies             Consent
Preliminary Order of Forfeiture/Money Judgment              to   Assistant United States Attorney Alexander
J. Wilson, Co-Chief of the   Money Laundering and Transnational Criminal Enterprises Unit, United
States   Attomey's Offiee, One St. Andrew's Plaza,          New York, New York 10007.

                9.      The signature     puge of this Consent       Preliminary Order of Forfeiture/Money
Judgment may be executed in one or more counterparts, each of whieh will be deemed an original




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        but all of which
                           together will constitute one and the   same   instrument
        AGREED AND CONSENTED TO:

        AUDREY STRAUSS
        Acting United Stutes Attorney for the
        Southem Distriet of New York



        By:
               Juliuna Murray                                                     10/19/2020
                                                                                 DATE
               Assistant United States Attorney
               One St. Andrew's Pluza
               New York, NY 10007
               (212) 637-2314


        GULSAHIL SINGH



        By                                                                   Cctobes1, oko
               Gulsahil Singh                                                   DATE




       By:                                                                      October 19, 2020
              Steven Brill, Esq.                                                DATE
              Altorney for Defendant
              115 Broadway, 17th Floor
              New York, NY 10006

       SO ORDERED
                                                                                 11-9-20
       HONORABLE RONNIE ABRAMS                                                  DATE
       UNITED STATES DISTRICT JUDG3E


Signature:
   Email: 5atnamwaheguru130013@gmail.com
